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IN THE UNITED STATES DISTRICT coURT - n_g,
FOR THE wEsTERN DISTRICT oF TENNESSEE guch
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EQUAL EMPLOYMENT oPPoRTUNITY UW% U,D»Wgrcam
CoMn/.IISSION, and prB

CONSTANCE AMOS,

Plaintiffs,
VS. NO. 00-2923-Ma
AUTOZONE , INC . ,

Defendant.

 

ORDER GRANTING MOTION TO EXCEED PAGE LIMITATION

 

Before the court is the defendant's August 12, 2005,
unopposed motion requesting permission to file a reply to EEOC's
opposition to motion for summary judgment in excess of the Rule
7.2(e) page limitation. For good cause shown, the motion is
granted and defendant may file the reply in excess of the page
limitation.

It is so ORDERED this !e}<~day of August, 2005.

JMM<.,,,

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 276 in
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Honorable Samuel Mays
US DISTRICT COURT

